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affirmative asylum case we file. In 2017, we received about $304,000 for filing 152 cases for

individuals who entered without inspection. (Not all 225 cases were funded as some were filed

low or pro bono.) If the organization were no longer able to handle such cases for individuals

who entered without inspection, we would likely face a marked decrease in our budget.

       17. As a result of the new policies, we would either have to completely or significantly

cut our affirmative asylum program and staff, or dramatically overhaul our program to provide

types of assistance we are not currently equipped or trained to provide. EBSC does not currently

have capacity to handle applications for humanitarian relief in the removal context. Shifting

from an affirmative asylum model to providing removal defense would be extremely resource

intensive, and would involve developing such a program, developing training materials,

identifying a new client base, significant training of existing staff, and hiring different staff

experienced in practicing before the immigration court.

       18. In addition, we would have to divert significant resources because of the executive

order. This would include devoting staff time and organizational resources to understanding the

executive order, its impact on the communities we serve, and subsequently educating and

advising our staff, clients, and prospective clients accordingly. Educating the communities we

serve about the new policies would take significant resources and take away from our other

existing programs. To properly counsel new prospective clients who seek our affirmative asylum

services going forward, we would need to invest resources in training multiple intake staff not

only to screen for asylum eligibility based on the new rule, but to conduct detailed screenings for

alternative forms of relief to facilitate referrals or other forms of assistance as appropriate.

       19. In addition, as part of its mission, EBSC supervises and trains law students to handle

affirmative cases. As a result of the new policies, however, we would be unable to continue



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